           Case: 22-1010 Document:
Case 2:20-cv-13134-LVP-RSW ECF No.21-1   Filed: 02/24/2022
                                   195, PageID.7317           Page: 1 Page 1 of 4 (1 of 4)
                                                      Filed 02/24/22




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                  Filed: February 24, 2022




 Mr. David H. Fink
 Fink Bressack
 38500 Woodward Avenue
 Suite 350
 Bloomfield Hills, MI 48304

 Mr. Nathan Joshua Fink
 Fink Bressack
 38500 Woodward Avenue
 Suite 350
 Bloomfield Hills, MI 48304

 Mr. Erik A. Grill
 Office of the Attorney General
 of Michigan
 P.O. Box 30217
 Lansing, MI 48909

 Ms. Stefanie Lynn Junttila
 Federal Criminal Attorneys of Michigan
 500 Griswold Street
 Suite 2340
 Detroit, MI 48301

 Ms. Heather S. Meingast
 Office of the Attorney General
 of Michigan
 P.O. Box 30217
 Lansing, MI 48909

                      Re: Case No. 22-1010, Timothy King v. Gretchen Whitmer, et al
                          Originating Case No. : 2:20-cv-13134
           Case: 22-1010 Document:
Case 2:20-cv-13134-LVP-RSW ECF No.21-1   Filed: 02/24/2022
                                   195, PageID.7318           Page: 2 Page 2 of 4 (2 of 4)
                                                      Filed 02/24/22




 Dear Counsel,

   The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/C. Anthony Milton
                                                Case Manager
                                                Direct Dial No. 513-564-7026

 cc: Ms. Kinikia D. Essix

 Enclosure
           Case: 22-1010 Document:
Case 2:20-cv-13134-LVP-RSW ECF No.21-2   Filed: 02/24/2022
                                   195, PageID.7319           Page: 1 Page 3 of 4 (3 of 4)
                                                      Filed 02/24/22



                                           No. 22-1010

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                                                                      FILED
 TIMOTHY KING,                                           )                      Feb 24, 2022
                                                         )                 DEBORAH S. HUNT, Clerk
        Plaintiff,                                       )
                                                         )
 STEFANIE LYNN JUNTTILA,                                 )
                                                         )
        Interested Party-Appellant,                      )                 ORDER
                                                         )
 v.                                                      )
                                                         )
 GRETCHEN WHITMER, et al.,                               )
                                                         )
        Defendants-Appellees.                            )




        Before: GUY, CLAY, and DONALD, Circuit Judges.


        In four related appeals, of which this is one, various attorneys challenge the district

 court’s imposition of monetary and non-monetary sanctions against them for engaging in abusive

 litigation practices in the district court. On February 22, 2022, Attorney Stefanie Lynn Junttila

 moved to stay the non-monetary portion of the district court’s sanctions award, issued on August

 25, 2021, which ordered: (1) her to complete—before February 25, 2022—at least twelve hours

 of continuing legal education offered by a non-partisan organization on the subjects of pleading

 standards and election law; and (2) the clerk to send a copy of the order to the Michigan Attorney

 Grievance Commission and to the disciplinary authority where she is admitted to practice law so

 those organizations could initiate an investigation into her possible suspension or disbarment.
           Case: 22-1010 Document:
Case 2:20-cv-13134-LVP-RSW ECF No.21-2   Filed: 02/24/2022
                                   195, PageID.7320           Page: 2 Page 4 of 4 (4 of 4)
                                                      Filed 02/24/22

                                             No. 22-1010
                                                 -2-

        A motion to stay should first be sought in the district court unless the movant can “show

 that moving first in the district court would be impracticable.” Fed. R. App. P. 8(a)(2)(A)(i).

 Junttila acknowledges that she did not first move the district court for a stay, based on similar

 reasons as set forth by the attorneys in King v. Whitmer, No. 21-1786. The same reasons that

 support our denial of a stay in that appeal support the denial of Junttila’s motion.

        Accordingly, the motion to stay is DENIED.

                                               ENTERED BY ORDER OF THE COURT




                                               Deborah S. Hunt, Clerk
